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                        United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


JOHN CHRISTENSEN

                                                          Civil Action No.    12-CV-1349W-MDD

                                            Plaintiff,
                                     V.
GRAVANO, MATTREY &                                        CLERK'S DEFAULT JUDGMENT
MAYNER, LLC                                                    IN A CIVIL CASE

                                          Defendant.


Decision by Court. This action came before the Court. The issues have been heard and a decision has
been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
The Court Grants Plaintiff’s motion for default judgment and Orders as follows against Defendants:
Plaintiff is awarded $2,000 in statutory damages, and $5,000 in actual damages. Plaintiff is awarded
$4,926.50 in attorneys’ fees, and $482.80 in costs.




Date:          1/9/14                                          CLERK OF COURT
                                                               JOHN MORRILL, Acting Clerk of Court
                                                               By: s/ D. Gilbert
                                                                                     D. Gilbert, Deputy
